Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 1 of 15 Pageid#:
                                   16628




                    EXHIBIT 2
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 2 of 15 Pageid#:
                                   16629


                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                          Plaintiffs,

  V.                                                                 Civil Action No.: 3:l 7CV00072

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES ALEX
  FIELDS, JR., VAN GUARD AMERICA,
  ANDREW ANGLIN, MOONBASE
  HOLDINGS, LLC, ROBERT "AZZMADOR"
  RAY, NATHAN DAMI GO, ELLIOTT
  KLINE a/k/a ELI MOSELEY, IDENTITY
  EVROP A, MATTHEW HEIMBACH, MATTHEW
  PARROTT a/k/a DA YID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-KNIGHTS,
  MICHAEL "ENOCH" PEINOVICH, LOYAL
  WHITE KNIGHTS OF THE KU KLUX KLAN,
  and EAST COAST KNIGHTS OF THE KU KLUX
  KLAN a/k/a EAST COAST KNIGHTS OF THE
  TRUE INVISIBLE EMPIRE,

                          Defendants.

       DEFENDANT FIELDS' ANSWERS TO PLAINTIFFS' FIRST INTERROGATORIES

          COMES NOW Defendant JAMES ALEX FIELDS, JR. ("Fields"), by counsel, and for his

  Answers to Plaintiffs' First Interrogatories, states as follows:


                                                      l
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 3 of 15 Pageid#:
                                   16630


          1.      Identify all means of communication used by you to communicate concerning the

  Events, whether before, during, or after the Events, and for each means of communication, identify

  all names, aliases, e-mail addresses, phone numbers, and Social medial Handles you used in

  connection with such communications, including the 18-digit account identifier associated with any

  discord account used by You. Means of communication include, but are not limited to, telephone

  calls, in-person meetings, and all means of electronic communication including, for example, Social

  media, email, SMS messages, podcasts, and online video.

         ANSWER:         Fields states that he told his mother through in-person conversation, via

  telephone calls, and text messages, that he planned to travel to Charlottesville for the August 12

  rally. Fields did not knowingly send, receive, or participate in the exchange of any letters, emails,

  text messages, instant messages, direct messages, telephone conversations, voicemail messages,

  face-to-face meetings, electronic chats, podcasts, or online videos about the August 12 rally or any

  other topics with any of the co-defendants listed in the Amended Complaint. Fields states that he

  likely read, liked, and retweeted or reposted posts on Twitter and Facebook, and on other social

  media accounts concerning the August 12 rally. The electronic devices which Fields would have

  used to access his Twitter and social media accounts are presently in the possession oflaw

  enforcement. The relevant Twitter account that Fields would have used is @TheNewGiantDad.

  His facebook account had a usemame james.fields.9279 and a display name "Conscious Ovis

  Aries." His cellular phone number is 804.414.9660.



  2.     Identify any "channel" or "server" on Discord to which you had access.

         ANSWER:         Fields does not have access to his social media accounts to ensure an accurate


                                                     2
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 4 of 15 Pageid#:
                                   16631


  response. To the best of his recollection, Fields states generally that he recalls creating a Discord

  account at some time in 2017 when co-workers invited him to join a channel related to the video game

  Ark Survival Evolved. Fields does not recall actually joining this channel or server, or any other

  channel or server, or ever communicating through Discord, after he created his Discord account.

  Fields certainly never conununicated about the August 12 Rally or "the Events" through Discord.



  3.      Identify all persons (natural or non-natural) with whom you communicated concerning the

  events, whether before, during, or after the Events.

          ANSWER:        Objection on the grounds this Interrogatory is overly broad, unduly

  burdensome, and not reasonably calculated to lead to the discovery of admissible evidence and might

  be interpreted as an attempt to violate attorney-client privilege. Subject to and without waiving this

  objection, Fields states that he communicated with his mother, Samantha Bloom, about his plan to

  attend the August 12 Rally. He also generally communicated with his supervisor to request time off

  from work to attend the rally but did not provide specific information about the August 12 Rally.

  Fields states that he likely read, liked, and retweeted or reposted posts on Twitter and Facebook, and

  on other social media accounts concerning the August 12 rally, but cannot provide the names of every

  person who may have read his posts, or the names of every person whose posts he read, liked, and/or

  reposted or retweeted. The electronic devices which Fields would have used to access his Twitter

  and social media accounts are presently in the possession of law enforcement.          Fields did not

  knowingly send, receive, or participate in the exchange of any letters, emails, text messages, instant

  messages, direct messages, telephone conversations, voicemail messages, face-to-face meetings,

  electronic chats, podcasts, or online videos about the August 12 rally or any other topics with any of


                                                     3
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 5 of 15 Pageid#:
                                   16632


  the co-defendants listed in the Amended Complaint. Fields does recall that he "tagged" co-defendant

  Richard Spencer in some of his Twitter posts. Fields also recalls "tagging" David Duke in some of

  his Twitter posts. Neither individual ever responded to these "tags."

          Fields also communicated with unknown individuals at the Rally, none of whom he knew, or

  had communicated with in any way, prior to the Rally. Some of these individuals were wearing white

  polo shirts with the Vanguard America symbol. He likewise did not know these individuals prior to

  the Rally and does not have their names or contact information. After the State of Emergency was

  declared on August 12, Fields walked from McIntire Park back to where his car was parked behind

  the McDonalds on 5tl, Street in Charlottesville with three other individuals. Fields gave a ride to these

  individuals to the places where their vehicles were parked in downtown Charlottesville. Fields did

 not know these individuals prior to the Rally, but has come to learn that their names are Sarah Bolstad,

  Hayden Lee Calhoun, and Joshua Matthews.

          After the rally, Fields communicated with police investigators, counsel, and other personnel

  at Albemarle Charlottesville Regional Jail.



 4.       Identify all Electronic Devices used by you to communicate concerning the Events, whether

 before, during, or after the Events.

         ANSWER:          Fields states that he used his cellular phone to communicate while he was in

 Virginia for the Rally. Prior to leaving for the Rally, Fields used his desktop computer to access social

 media and to read internet posts concerning the Rally.




                                                     4
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 6 of 15 Pageid#:
                                   16633


                                          JAMES ALEX FIELDS, JR.
                                          By Counsel
                                               ---,'
                                          David L. Hauck, quire (VSB# 20565)
                                          David L. Campbell, Esquire (VSB #75960)
                                          DUANE, HAUCK, DAVIS &GRAVATT, P.C.
                                          100 West Franklin Street
                                          Richmond, Virginia 23220
                                          Telephone: 804-644-7400
                                          Facsimile: 804-303-8911
                                          dcampbell@dhdglaw.com
                                          Counsel for Defendant James A. Fields, Jr.




                                      5
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 7 of 15 Pageid#:
                                   16634


                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                    Plaintiffs,

  V.                                                Civi!ActionNo.: 3:17CV00072

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES ALEX
  FIELDS, JR., VANGUARD AMERICA,
  ANDREW ANGLIN, MOONBASE
  HOLDINGS, LLC, ROBERT "AZZMADOR"
  RAY, NATHAN DAMI GO, ELLIOTT
  KLINE a/k/a ELI MOSELEY, IDENTITY
  EVROPA, MATTHEW HEIMBACH, MATTHEW
  PARROTT a/k/a DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-KNIGHTS,
  MICHAEL "ENOCH" PEINOVICH, LOYAL
  WHITE KNIGHTS OF THE KU KLUX KLAN,
  and EAST COAST KNIGHTS OF THE KU KLUX
  KLAN a/k/a EAST COAST KNIGHTS OF THE
  TRUE INVISIBLE EMPIRE,

                    Defendants.


       DEFENDANT FIELDS' RESPONSES TO PLAINTIFFS' FIRST REQUESTS FOR
                       PRODUCTION OF DOCUMENTS

       COMES NOW Defendant JAMES ALEX FIELDS, JR. ("Fields"), by counsel, and for his


                                          6
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 8 of 15 Pageid#:
                                   16635


  Responses to Plaintiffs' First Requests for Production of Documents, states as follows:

  I.      All Documents and Communications concerning the Events, including without limitation all

  documents and communications:

          1.      concerning any preparation, planning, transportation to, or coordination for, the

  Events, including receipts, bills and credit card statements reflecting costs for transportation,

  lodging, apparel, gear, or any other material purchased for the Events;

          11.     concerning any instructions or coordination relating to the Events, including security

 details, what to wear, what to bring, when to meet, where to met, what to say, and any other

 logistical information or arrangements;

         111.     that are Social Media concerning the Events;

         1v.      you created during the Events, including Social media, text messages, video, and

 photographs;

         v.       concerning Afiican Americans, Jewish individuals, or other religious, racial, or

 etchnic minorities that relate in any way to the Events

         vi.     concerning any statement or action attributed to You in the Amended Compalint; or

         vu.     concerning any allegation of an altercation, violent act, injury, or instance of

 intimidation or harassment that occurred during the Rally, including but not limited to James Fields'

 vehicular incident; or

         v111.   concerning any funding of the Events, including for transportation, housing, food,

 weapons, uniforms, signage, tiki torches, or other materials or services used in connection with the

 Events (or planning thereof).

         RESPONSE: Objection on the grounds this request is overly broad, unduly burdensome,


                                                     7
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 9 of 15 Pageid#:
                                   16636


  and seeks information that is not relevant nor reasonably calculated to lead to the discovery of

  admissible evidence. Subject to and without waiving these objections, Fields does not have the

  capability to access his social media accounts to provide complete responsive information. Other

 than privileged documents, Fields is only in possession of publicly available documents such as

 newspaper and website articles or blog posts, the "Final Report - Independent Review of the 2017

 Protest Events in Charlottesville, Virginia", and online biogs and "lectures" such as this talk given

 by Mr. Dwayne Dixon.

             ht_t:p_s_:ify,ww. yout:1lo_Ee_:c:om/wa!c:lo_?v=\Jgdgg9dXLmO &f eature=youtu. be&t=22!)g

         If requested, Fields will provide copies of or links to the publicly available newspaper and

 website articles obtained by "Googling" his name and the August 12, 2017, Charlottesville Rally.



 2.      All Documents and Communications concerning events, meetings, rallies, conferences, or

 conversations held prior to the Events that relate to the Events in any way.

         RESPONSE: Objection on the grounds this request is overly broad, unduly burdensome,

 and seeks information that is not relevant nor reasonably calculated to lead to the discovery of

 admissible evidence. Subject to and without waiving these objections, Fields does not have the

 capability to access his social media accounts to provide complete responsive information.

         To the best of his recollection, Fields states that he told his mother through in person

 conversation, via telephone calls, and text messages, that he planned to travel to Charlottesville for

 the August 12 Rally. Fields also states that he communicated with his supervisor to request time of

 to attend the Rally but provided no information regarding the Rally. He believes he told his

 supervisor he was going to a reunion. Fields did not participate in any events, meetings, rallies,


                                                    8
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 10 of 15 Pageid#:
                                    16637


  conferences or conversations held prior to the Events with any co-defendants, or anyone else,

  concerning the planning of the Events.



  3.      All Documents concerning and all Communications concerning or with East Coast knights

  of the Ku Klux Klan (or East Cost Knights of the True Invisible Empire), Fraternal Order of the Alt-

  Knights, Identity Europa (or Identity Evropa), League of the South, Loyal White Knights of the Ku

  Klux Klan (or Loyal White Knights Church of the Invisible Empire Inc.), Moonbase Holdings,

  LLC, Nationalist Socialist movement, Nationalist Front (or Aryan National Alliance), Traditionalist

  Worker Party, Vanguard America, or any such other social group or organization that has as part of

  its agenda a racial, religious or ethnic objective.

          RESPONSE: Objection on the grounds this request is overly broad, unduly burdensome,

  and seeks information that is not relevant nor reasonably calculated to lead to the discovery of

  admissible evidence. Subject to and without waiving these objections, Fields does not have the

  capability to access his social media accounts to provide complete responsive information.

          To the best of his recollection, Fields liked and retweeted and/or reposted the tweets and/or

  posts of others regarding the Rally. He did not post any original information regarding the Rally, as

  he did not have access to any.



  4.      All Documents and Communications concerning violence, intimidation, or harassment of

  Persons on the basis race, religion, or ethnicity, including but not limited to, ethnic cleansing, white

  genocide, a white ethno-state, or any other form oflarge or small scale violence.

          RESPONSE: Objection on the grounds this request is overly broad, unduly burdensome,


                                                        9
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 11 of 15 Pageid#:
                                    16638


  and seeks infonnation that is not relevant nor reasonably calculated to lead to the discovery of

  admissible evidence. Subject to and without waiving these objections, and with respect only to

  documents and communications concerning the Events, Fields liked and retweeted and/or reposted

  the tweets and/or posts of others regarding the Rally. He did not post any original information

  regarding the Rally, as he did not have access to any. Fields recalls posting a video and/or a

  photograph from the Rally but he is not in possession of any such documents or any other relevant

  non-public documents.



  5.     For any Social media account You had from January 1, 2015, to the present:

         1.      Documents and Communication sufficient to show the account home page, and all

  uses of Social media for that account that reference or concern the Events or Defendants in any way.

         11.     Documents and Communication sufficient to show all Your "friends" and/or "social

  connections" maintained on Your account, including their names, addresses, and social network

  usemames or handles.

         RESPONSE: Objection on the grounds this request is overly broad, unduly burdensome,

  and seeks information that is not relevant nor reasonably calculated to lead to the discovery of

  admissible evidence. Subject to and without waiving these objections, Fields does not have the

  capability to access his social media accounts to provide complete responsive information.

         The only Twitter account that Fields would have used for any communication about the

  Rally is @TheNewGiantDad. His facebook account had a usemame james.fields.9279 and a

  display name "Conscious Ovis Aries." Fields specifically objects to providing information

  regarding any other Twitter accounts or social media accounts that he maintained or used prior to


                                                   10
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 12 of 15 Pageid#:
                                    16639


  the summer of 2017 and that were never used to communicate about the Rally .. To the best of his

  recollection, Fields has never been connected to any co-Defendant in this action other than

  "following" them on social media and potentially reposting, retweeting, and/or liking items from

  their accounts. Fields recalls following Richard Spencer on Y ouTube and Twitter. Fields also

  recalls following Augustus Sol Invictus and Michael Peinovich on Twitter.



  6.     All Documents concerning and all Communications concerning or with any Plaintiff or

  Defendant (other than You) named in the Amended Complaint, and any other Person who attended,

  planned or was involved in the Events.

         RESPONSE: Fields does not have the capability to access his social media accounts to

  provide complete responsive infonnation because the electronic devices which Fields would have

  used to access his Twitter and social media accounts are presently in the possession oflaw

  enforcement. Fields did not knowingly send, receive, or participate in the exchange of any letters,

  emails, text messages, instant messages, direct messages, telephone conversations, voicemail

  messages, face-to-face meetings, electronic chats, podcasts, or online videos about the August 12

  rally or any other topics with any of the co-Defendants listed in the Amended Complaint. To the

  best of his recollection, Fields has never been connected to any co-Defendant in this action other

  than "following" them on social media and potentially reposting, retweeting, and/or liking items

  from their accounts. Fields recalls following Richard Spencer on YouTube and Twitter. Fields also

  recalls following Augustus Sol Invictus and Michael Peinovich on Twitter. Fields does recall that

  he "tagged" co-defendant Richard Spencer in some of his Twitter posts. Fields also recalls

  "tagging" David Duke in some of his Twitter posts. Neither individual ever responded to these


                                                   11
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 13 of 15 Pageid#:
                                    16640


  htags."



  7.        All Docwnents and Communications concerning any lawsuits, claims of violence, or arrests

  relating to or arising out of racially, ethnically, or religiously motivated conduct by You or any

  Defendant named in the Amended Complaint.

            RESPONSE: Objection on the grounds this request is overly broad, unduly burdensome,

  and seeks information that is not relevant nor reasonably calculated to lead to the discovery of

  admissible evidence. This request is further object to on the grounds of attorney-client privilege and

  potentially work product. Fields is not in possession of any responsive, non-privileged documents.



  8.        All Documents and Communications concerning the steps you have taken to preserve

  Documents and Communications relevant to the lawsuit, including the Documents and

  Communications responsive to these Requests.

            RESPONSE: Fields states that he has no docwnents to produce in response to this request

  because he has been incarcerated since August 12, 2017, and search warrants executed by various

  law enforcement authorities have resulted in the seizure of his electronic devices and any other

  possibly relevant docwnents.




                                                    12
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 14 of 15 Pageid#:
                                    16641


                                                          JAMES ALEX FIELDS, JR.
                                                          By Counsel


                                                          David L. Hauck, quire (VSB# 20565)
                                                          David L. Campbell, Esquire (VSB #75960)
                                                          DUANE, HAUCK, DAVIS &GRAVATT, P.C.
                                                          100 West Franklin Street
                                                          Richmond, Virginia 23220
                                                          Telephone: 804-644-7400
                                                          Facsimile: 804-303-8911
                                                          dcampbell@dhdglaw.com
                                                          Counsel for Defendant James A. Fields, Jr.

                                   CERTIFICATE OF SERVICE

         I hereby certify that on this      16th        day of April, 2018, I provided copies of the
  foregoing via email to the following:

                                          Robert T. Cahill, Esquire
                                          Cooley, LLP
                                          11951 Freedom Drive, 14th Floor
                                          Reston, Virginia 20190-5656
                                          Counsel/or Plaintiff

                                          Roberta A. Kaplan, Esquire
                                          Julie E. Fink, Esquire
                                          Kaplan & Company, LLP
                                          350 Fifth Avenue, Suite 7110
                                          New York, New York 10118

                                          Karen L. Dunn, Esquire
                                          William A. Isaacson, Esquire
                                          Boies Schiller Flexner LLP
                                          1401 New York Ave, NW
                                          Washington, DC 20005
                                          Philip M. Bowman, Esquire
                                          Boies Schiller Flexner LLP
                                          575 Lexington Avenue
                                          New York, New York 10022

                                          Alan Levine, Esquire
                                          Cooley LLP
                                          1114 Avenue of the Americas, 46'h Floor

                                                   13
Case 3:17-cv-00072-NKM-JCH Document 1003-4 Filed 08/11/21 Page 15 of 15 Pageid#:
                                    16642



                               New York, New York 10036

                               David E. Mills, Esquire
                               CooleyLLP
                               1299 Pennsylvania Avenue, NW
                               Suite 700
                               Washington, DC 20004

                               Brian Jeffrey Jones, Esq.
                               106 W. South Street, Suite211
                               Charlottesville, Virginia 22902
                               Attorney for Defendants Michael Hill, Michael Tubbs, and
                               the League of the South

                               Elmer Woodard, Esquire
                               5661 US Hwy. 29
                               Blairs, Virginia 24527
                               Attorney for Defendants Christopher Cantwell, Nathan
                               Damigo, Matthew Heimbach, Identity Europa, Jason
                               Kessler, Elliot Kline, National Socialist Movement,
                               Nationalist Front, Matthew Parrott, Jeff Schoep,
                               Traditionalist Worker Party, Vanguard America, and Robert
                               Ray

                               Michael Peinovich, Defendant pro se
                               519 E. 82nd Street, Apt. 2C
                               New York, NY 10028

                               Richard Spencer
                               1001-A King Street
                               Alexandria, Virginia 22314




                                        14
